Case 2:03-cr-20389-SHL Document 48 Filed 06/02/05 Page 1 of 2 Page|D 44

 

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ROBEFtT Li}='.5a tib;i;_'_;_£?té_ii§
uNiTED sTATEs oF AMERicA, $l§*:l§;, m ME¢,, H,S
Piaimirr,
vs.
cn. No. 03-20389-B
cALviN coBs,
Defendants.

 

OF{DEFl ON CONTINUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on i\/|ay 31 , 2005. At that time, counsel for the
defendant requested a continuance for change of piea.

The Court granted the request and set the change of plea date for Thursdav.
June 23, 2005 at 9:15 a.m., in Courtroom 1, 1 ith l°-'|oor ot the Federa| Bui|ding, |V|emphis,
TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends otjustice served in allowing for additional time
to prepare outweigh the need fora eedy tria|.

|T |S SO ORDERED this day Of June, 2005.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 48 in
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Honorable J. Breen
US DISTRICT COURT

